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                 EXHIBIT 3
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                                                         TerraForm Labs Pte. Ltd Loss Chart                                                          Lookback
                                                   Class Period: May 20, 2021 through May 25, 2022                                                     Price
Name            Date Purchased Tokens    Price per     Total         Date      Tokens Price per    Total   Tokens      Value       Total Loss/Gain
                                         Token                                                                                                        $0.03
                                                                     Sold              Token               Retained    Retained
Tobias, Michael 4/6/2022   454,991       ($1.00)       ($454,991.00)                                         454,991    $13,928.18  ($441,062.82)
